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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re
                                                                 Chapter 11
LEHMAN BROTHERS HOLDINGS INC., et al.,
                                                                 Case No. 08-13555 (SCC)
                       Debtors.

                                                                 Adversary Proceeding
LEHMAN BROTHERS HOLDINGS INC.,                                   No. 16-01019 (SCC)

                       Plaintiff,
        - against -

1ST ADVANTAGE MORTGAGE, L.L.C,, et al

                       Defendants.


                                    STIPULATION AND ORDER

        IT IS HEREBY STIPULATED AND AGREED, by and among counsel for Lehman

Brothers Holdings Inc., on the one hand, and counsel for certain of those Defendants to the

adversary proceedings listed in Exhibit A to the Memorandum Decision and Order Denying

Omnibus Motion to Dismiss (Doc # 606), which is attached hereto as Exhibit “1” (the “Order”),

on behalf of all of the Defendants listed in Exhibit 1, on the other hand, that, pursuant to Federal

Rules of Bankruptcy Procedure 8002(d)(1) (“FRBP”), 28 U.S.C. § 158(c)(2), and Local Rule

9006-2, the time for any Defendants listed in Exhibit A who wish to do so to file a Notice of

Appeal and/or Motion for Leave to Appeal pertaining to the Order pursuant to 28 U.S.C. §

158(c)(2), normally required within 14 days from the date of entry of the Order as required by

FRBP 8002(a)(1), is hereby extended for an additional 21 days from the original deadline of

August 27, 2018 to September 17, 2018.




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       The Parties further agree and stipulate that Lehman Brothers Holdings Inc.’s time to

respond, normally 14 days from the filing of a Notice of Appeal and/or motion for leave to

appeal pursuant to 28 U.S.C. § 158(c)(2) as per FRBP 8004(b)(2), shall be 21 days from the date

of any such filing.

Dated: August 21, 2018

FOX ROTHSCHILD LLP                                AMERICAN MORTGAGE LAW GROUP, PC

By: /s/ Michael Rollin                            By: /s/ Tracy L. Henderson

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Facsimile:     (212) 382-0050                  Mortgage Company ; First Mortgage Corporation ;
                                               Hartland Mortgage Centers, Inc. ; Gateway
Counsel for Plaintiff Lehman Brothers Holdings Funding Diversified Mortgage Services, L.P.; Loan
Inc.                                           Simple, Inc. f/k/a Ascent Home Loans Inc.;
                                               MC Advantage, LLC f/k/a Republic Mortgage Home
                                               Loans, LLC ; Mega Capital Funding, Inc. ; New Fed
                                               Mortgage Corp. ; Oaktree Funding Corp. ; Republic
                                               State Mortgage Co. ; Residential Home Funding
                                               Corp.; Ross Mortgage Corporation; Sterling
                                               National Mortgage Company, Inc. ; Sun American
                                               Mortgage Company; Windsor Capital Mortgage
                                               Corporation; WR Starkey Mortgage, LLP




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                                                    PMAC Lending Services, Inc. and PMC BanCorp

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Counsel for SecurityNational Mortgage
Company




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               -and-

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Counsel for Defendant Guaranteed Rate, Inc.




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REED SMITH LLP                                     TIFFANY & BOSCO, P.A.

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Counsel for SGB Corp., now known as Wintrust
Mortgage




IT IS SO ORDERED:

August 27, 2018                               /S/ Shelley C. Chapman
                                            _______________________________________
                                            HONORABLE SHELLEY C. CHAPMAN
                                            UNITED STATES BANKRUPTCY JUDGE




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                   EXHIBIT 1
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                                                                  FOR PUBLICATION


                                         Exhibit A

                       Defendant                        Adv. Pro. No.
     American Pacific Mortgage Corporation               16-01360
     America’s Mortgage Alliance, Inc.                   16-01378
     America’s Mortgage, LLC                             16-01378
     Approved Funding Corp.                              16-01284
     Arlington Capital Mortgage Corporation              16-01351
     Bank of England                                     16-01285
     Bondcorp Realty Services Inc.                       16-01302
     Broadview Mortgage Corporation                      16-01286
     BWC Mortgage Services f/k/a Commerce                16-01376
     Home Mortgage, Inc. f/k/a Simonich Corp.
     Capital Bank Corporation, as successor by            16-01367
     merger to TIB Bank
     Cherry Creek Mortgage Co., Inc.                      16-01287
     Circle One Mortgage Company                          16-01364
     CMG Mortgage, Inc.                                   16-01332
     Congressional Bancshares, Inc.                       16-01003
     Cornerstone Mortgage, Inc.                           16-01288
     Crestline Funding Corporation                        16-01306
     CTX Mortgage Company, LLC                            16-01359
     DHI Mortgage Company Ltd.                            16-01374
     Director’s Mortgage, Inc.                            16-01345
     Eagle Mortgage Holdings, LLC as successor            16-01383
     by merger to Eagle Home Mortgage, Inc.; and
     Universal American Mortgage
     Company
     First Bank                                           16-01289
     First California Mortgage Company                    16-01313
     First Equity Mortgage Bankers, Inc.                  16-01305
     First Mortgage Corporation                           16-01290
     First National Bank                                  16-01364
     Freedom Mortgage Corporation                         16-01373
     Gateway Funding Diversified Mortgage                 16-01351
     Services, L.P.
     Gateway Mortgage Group, LLC                          16-01291
     Guaranteed Rate, Inc.                                16-1292
     Guild Mortgage Company                               17-01001
     Hartland Mortgage Centers, Inc.                      16-01317
     Home Loan Center, Inc.                               16-01342
     iMortgage.com, Inc.                                  16-01283
     loanDepot.com                                        16-01283
     Loan Simple, Inc. f/k/a Ascent Home Loans            16-01309
     Inc.
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                       Defendant                           Adv. Pro. No.
     MC Advantage, LLC f/k/a Republic                       16-01334
     Mortgage Home Loans, LLC
     Mega Capital Funding, Inc.                              16-01304
     MegaStar Financial Corp.                                16-01301
     Mortgage Capital Associates, Inc.                       16-01318
     Mountain West Financial, Inc.                           16-01349
     New Fed Mortgage Corp.                                  16-01299
     North Atlantic Mortgage Corporation                     16-01339
     Oaktree Funding Corp.                                   16-01298
     Paramount Residential Mortgage Group, Inc.              16-01293
     Parkside Lending, LLC                                   16-01308
     PMAC Lending Services, Inc.                             16-01353
     PMC Bancorp                                             16-01353
     Reliant Mortgage Company, LLC                           16-01353
     Republic State Mortgage Co.                             16-01365
     Residential Home Funding Corp.                          16-01361
     Response Mortgage Services, Inc.                         16-1343
     Ross Mortgage Corporation                               16-01324
     Sacramento 1st Mortgage, Inc.                           16-01350
     Santander Bank, N.A, f/k/a Sovereign Bank,              16-01357
     FSB
     Security One Lending                                    16-01344
     Security National Mortgage Company                      16-01325
     Shea Mortgage, Inc.                                     16-01294
     Sierra Pacific Mortgage Co., Inc.                        16-1341
     Southeast Funding Alliance, Inc.                        16-01314
     Stearns Lending, LLC                                    16-01001
     Standard Pacific Mortgage, Inc. f/k/a Family
     Lending Services, Inc.
     Sterling National Mortgage Company, Inc.                16-01316
     Suburban Mortgage, Inc.                                 16-01295
     Sun American Mortgage Company                           16-01296
     Universal American Mortgage Company,                    16-01297
     LLC
     Windsor Capital Mortgage Corporation                    16-01333
     Wintrust Mortgage Corporation, as successor             16-01369
     by merger to SGB Corp.
     WR Starkey Mortgage, LLP                                16-01326
     WEI Mortgage LLC f/k/a WEI Mortgage                     16-01346
     Corporation




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